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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF PENNSYLVANIA

Craig Alan Toaz,

Plaintiff
Sey MU
Vv. | Givil Action
Kathy P. Lane, Warden
BD. Altizer, Captain
C. Rothermel, Gregg Unit Manager
C. Snyder, Brady Unit Counselor FILED
Brown, Gregg Unit Counselor SCRANTON
One Unknown Correctional Officer, .
sued in their individual capacities, AUG 11 2017

 

Defendants
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GEPUTY CLERK

L_RIGHTS COMPLAINT
I. JURISDICTION

1) Plaintiff brings this Civil lawsuit pursuant to Bivens 403 US 388 (1971) .
to redress the deprivation under the color of Federal Law, of Rights secured
by the Constitution of the United States. The Court has Jurisdiction under
28 U.S.C §1331 and 1343(a)(3). Plaintiff seeks declaratory relief pursuant
| to 28 U.S.C. §2201 and 2202. Plaintiff claims for injunctive relief are authorized

by 28 U.S.C. §2283 and 2284 and Rule 65 of Federal Rules of Civil Procedure.

IT... VENUE.
2) Thé Middle District of Pennsylvania is an appropriate venue under
28 U.S.C. §1391(b)(2) because a substantial part of the events or ommission

giving rise to the claim occurred at Allenwood Low Federal Correctional Institution

located within this District.
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IIT. PARTIES

3) Plaintiff; Craig Toaz, was at all times relevant to this action, a
prisoner incarcerated at Low Security Correctional Institution (LSCI) at Allenwood
Pennsylvania.

4) Defendant; Kathy P. Lane was at all times relevant to this action,
the Warden at Federal LSCI Allenwood and was acting under the color of Federal
law by statute 18 U.S.C. §4042 the Warden is responsible for ensuring the
safety and well-being of prisoners under her supervision and is further responsible
for proper training for all staff and officers employed at LSCI Allenwood.

She is sued in her individual and official capacities.

5) Defendant D. Altizer, was at all times relevant to this action acting
ander the color of Federal law as Captain of Security at LSCI Allenwood, who
is responsible to ensure the safety of Plaintiff and to provide, oversee the
proper training of all staff and officers who are employed at the prison.

He is being sued in his individual capacity.

6) Co-defendant C. Rothermel was at all times Gregg Housing Unit Manager
at LSCI Allenwood, who is responsible for overseeing the daily operation for
inmate living quarters, acting under the color of Federal law. he is responsible
to ensure that inmates have a safe enviornment to Live in. He is being sued
in his individual capacity.

7) Defendant C. Snyder, Brady Housing Unit Counselor at LSCI Allenwood
was relevant to this action when his actions under the color of Federal law
caused Plaintiff physical bodily injury for Plaintiff exercising his right
to grievance; he is being sued in his individual capacity.

8) Defendant Brown, Gregg-B Unit Counselor of LSCI Allenwood was relevant
to this action who is responsible for providing inmates with administrative
remedy forms when requested. She is being sued in her individual capacity.

9) Defendant One Unknown Correctional Officer employed at F.C.¢. Allenwood

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was relevant to this action who was acting under the color of law. This
officer allegedly was running a security operation that resulted in physical

bodily injury to Plaintiff. He is being sued in his individual capacity.

IV. STATEMENT OF FACTS

10) Approximately six (6) years ago Plaintiff Toaz was diagnosed with
Ulcerative Colitis, which there is no cure for other than to prescribe preventative
medication (Mesalamine 800..mg.) to control flare-ups.

11) Currently, Toaz has experienced several flare-ups, which are then
treated with a 30 to 60 day regiment of Prednisone.

12) Flare-ups systemal consist of blood and mucus in the stool, extreme
stomach pain and cramps, excessive bathroom trips--sometimes up to 8 to 12
times in the first 3 hours in the proximity after wake-up.

13) On June 23, 2017, Toaz went to sick call because he was experiencing
another colitis flare-up. That day, his PA Ms. Furca started Toaz on a
Prednisone regimenand scheduled for him to return on Monday Jume 26, 2017
for a full consultation.

14) On Monday June 26, 2017, Ms. Farca examined Toaz and confirmed that
he was having a colitis flare-up. However, at that time there was no blood
found in Toaz's urine.~

15) On June 28, 2017 prison staff conducted a mass shakedown in the
housing unit where Toaz was housed.

16) The first step was for staff to secure the unit by having every

inmate return to his cube (or cell). These cubes do not have bathrooms within

Footnote i: Blood is usually never found in the urinary tract as a result
of an ulcerative colitis flare-up. Blood is normally only
found in stool samples.
 

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them.

17) Once the unit was secured Counselor Snyder would only allow one
inmate at a time to use the bathroom.

18} When Toaz explained to Snyder that he had a medical condition that
required frequent use of the bathroom, and that not allowing Toaz to use the
bathroom would be inhumane treatment, Snyder threatened to lock up Toaz in
Segregation.

19) Further, Snyder had another (unknown) officer threaten Toaz with
segregation if he complained that he needed to use the bathroom. Toaz did
explain to that officer of his medical condition. |

20) From the time staff secured the unit and then had all inmates leave
to go to the Recreation Yard (approximately 2% hours), Toaz was never allowed
to use the bathroom.

21) During the time that Toaz was denied access to the bathroom, he
experienced extreme stomach pain and cramps until finally it felt like something
broke inside of him, at which point he actually urinated on and deficated on
himself. as he was walking up to the Rec. yard.

22) Toaz ended up having to clean himself up in the Rec yard bathroom
with several other inmates watching him.

23) Snyder along with other unknown officers proceeded to retaliate
against Toaz by confiscating the majority of his legal papers and personal
and institutional clothing.

24) Later that day, Toaz started experiencing pain when he urinated
and he started urinating much more frequently.

25) Upon returning to the unit and finding that his legal papers and
clothing had been confiscated and were in the possession of his Unit Manager,
Mc. Rothermal, Toaz requested that he (Rothermal) return all items that were

seized, or else provide Toaz-with a confiscation form, at which time Rothermal

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refused either request.

26) Toaz then requested for Rothermel to provide him with Administrative
Remedy Form (BP-8) which Rothermel also refused to provide to Toaz.

27) The following Thursday, June 29, 2017, Toaz was still experiencing
severe pain while urinating, however because staff was further conducting
shakedowns at the remaining two housing.units, all normal movement was suspended
until further notice. Therefore, Toaz was not able. to go to sick call on
that day.

28) Further on Jume 29, 2017 Toaz did request for Rothermel to return,
all of Toaz's property that had been seized the day before, or to provide
him with a confiscation form, which Rothermel refused both requests by Toaz.

29) Toaz then requested Rothermel to provide him with Adiministrative
Remedy Forms based on the following grounds that staff had retaliated against
him by seizing his property for exercising his right to grievance against
staff for the inhumane treatment he had suffered the previous day, which Rothermel
once again refused his request for Administrative Remedy Forms.

30) Later that same night, Toaz noticed for the first time that he had
blood in his urine.

31) The next morning, Friday June 30, 2017, Toaz went back to sick call
where PA Furca took a urine sample and determined that Toaz did have an excess
amount of blood in his urine, at which point she placed him on an antibiotic
500 mg. of Ciprofloxacine. However at that time it was never determined what
was actually causing the internal bleeding.

32) On Friday June 30, 2017 after leaving Health Services, Toaz was
finally able to speak with his Unit Counselor, Ms. Brown, at which time he
requested Administrative Remedy forms in order to file a grievance based on
the same grounds stated in Paragraph 29. Ms. Brown at that time refused Toaz

his grievance request.
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33) Later that same day Toaz again requested a grievance form from Ms.

Brown and was once again refused access to the institutional grievance procedures.

34) That same day, he also once again requested a grievance forms and
for the return of his property that was seized during the shakedown on the
previous Wednesday from Unit Manager Rothermel, which Rothermel refused both
requests.

35) That same day, Toaz further requested that Rothermel and/or Ms.
Brown provide him with a confiscation receipt for his personal property that
was seized, and both staff members refused his request.

36) On July 1, 2017 Toaz spoke with Ms. Brown again, who at that time
informed him. that the reason that Rethermel was holding his property because
he had found other inmates personal property in Toaz's legal papers, which

was the first time Toaz had heard this from any staff member.

 

37) Apparently what Rothermel is considering to be another inmate's
personal property are court documents such as court orders and opinions, appeal
briefs, pre or post-conviction motions that have previously been filed in
Federal Court and. are Public Published Court Records, who anyone who has
a Pacer account can access.

38) It is well known that Toaz is a highly successful Jailhouse Lawyer
who over the past 20 years has assisted over 40-inmates in vacating their
convictions and/or sentence through several different types of post-conviction
procedures, which Toaz keeps records (or copies of the brief) that he has
been successful in vacating other inmate convictions/sentences.

39) For example, Toaz is currently assisting Inmate Santana in preparing
his first 28 U.S.C §2255 motion because Inmate Santana does not speak or read
English. Therefore, it would have been virtually impossible for Santana to
file his first timely Section 2255 petition without Toaz's assistance. However
it appears that Rothermel is now trying to enforce an invalid prison regulation,

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stopping Toaz from furnishing any assistance to Santana or other inmates,
which is clearly contrary to Supreme Court Law. See Johnson v. Avery 393
U.S. 483, 486 (1968).

40) Additionally, Rothermel has firsthand knowledge that Toaz was the
ghostwriter on three successful lawsuits against the Bureau of Prisons, and
has previously threatened Toaz against providing assistance to other inmates

who wish to file grievances against the staff here at LSCI Allenwood.

41) Specifically, as it relates to paragraph 40 where Toaz first arrived
here at LSCI Allenwood, Rothermel explicitly threatened Toaz that if he helped
other inmates file grievances against his staff or officers that he would
bury Toaz under this jail.

42) On June 29, 2017 the Sixth Circuit issued their opinion in affirming
Toaz's 30 year sentence that he received from the District Court sentence
reduction pursuant to frequently. 18 U.S.C. §3582(c)(e)(Case No. 16-1648)
Therefore until the staff return all of his legal materials, Toaz will be
unable to submit a properly prepared writ of Certiorari to the Supreme Court
within the 90 day time period that he has from the June 29, 2017 date.

43) From the date in which Toaz's personal property was confiscated
(from June 28 to July 14, 2017) and every day thereafter that Rothermel and
Counselor Brown have been present in the institution Toaz has repeatedly requested
that his property be returned to him or for staff to provide him with confiscation
documentation and Administrative Remedy form as per prison policy which the
the above-named staff has refused to provide for Toaz.

44) On July 14, 2017 Counselor Brown did return to Toaz all clothing
and some of his Legal material that had been confiscated on June 28, 2017.
Therefore, Toaz had to endure 16 days without any clean clothes such as socks,
or underwear to change into. Still the majority of Toaz's Legal material

is being witheld from him as of the writing of this complaint.

 
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45) Therefore for above given reasons he now seeks relief from this
Federal Court of Law, for the blatant retaliation from the staff for Toaz
exercising his right to grievance, and to assist other inmates in their post-
conviction motions.

V. EXHAUSTION OF ADMINISTRATIVE REMEDIES

46) Plaintiff sought to exhaust his administrative remedies as required
by prison policy, but both Defendants Rothermel and Brown would not provide
any grievance form to Plaintiff.

47) Plaintiff is currently working on his own and several other inmates
post-conviction motions (a writ of Cert.) who have time restraints who will
suffer irreparable damage by procedurally barring their motion under the Federal
Rules of Criminal and Habeas Procedures.

48) Plaintiff is continuing to suffer irreparable injury from his ongoing
medical condition that has put his health, safety and life at risk from the
staff's cruel and unusual punishment that Toaz was subjected to, that may
in fact become fatal if not addressed immediately.

VI. CAUSE OF ACTION
| COUNT 1

Plaintiff Was Subjected to Cruel and Unusual Punishment in Violation
of the Eighth Amendment to the Constitution.

49) Plaintiff incorporates paragraphs 1 through 48 as though they were stated
fully herein.

50) Defendants, Warden Kathy P. Lane, Captain D. Altizer, Brady Unit
Counselor Snyder and Unknown Correctional officer violated Plaintiff's Eighth
Amendment Right to be free from cruel and unusual punishment by keeping Plaintiff
who at the time was suffering from an ulcerative colitis flare-up by restraining
him from using the bathroom for over 2 and % hours which caused serious bodily

injury to the Plaintiff.
 

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51) Defendant Rothermel violated Plaintiff's Eight Amendment Right to
be free from cruel and unusual punishment by depriving Plaintiff reasonable
access to basic personal hygiene materials such as soap, clean clothing, such
as underwear and clean socks, for a period of over 21 days by not retinmning

the above items immediately after they were seized on June 28, 2017.

COUNT IT

Plaintiff Was Denied Due Process Under the Fifth Amendment to the
Constitution.

52) Plaintiff incorporates paragraphs 1 through 48 as though they were
stated fully herein.

53) Defendant Rothermel violated Plaintiff's Fifth Amendment Rights
to due process by withoiding any and all legal materials that were legitimately
in Plaintiff's possession when he has an active case in the U.S. Supreme Court
and is assisting other inmates with their post-conviction motions as provided
in Johnson V. Avery, 393 U.S. 483, 486 (1968), thus depriving Plaintiff and
other inmates the right to reasonable access to the courts by trying to enforce
an invalid prison regulation that would restrict Plaintiff from furnishing

such assistance to other prisoners and himself.

COUNT ITI

Plaintiff and other Inmates Were Denied the Right to Petition the Government
for a Redress of Grievance Under the First Amendment to the Constitution.

54) Plaintiff incorporates paragraphs 1 through 48 as though they were
stated fully herein.

55) All named Defendants violated Plaintiff's First Amendment Right
to be free to petition the government for redress of grievance when staff
confiscated all Plaintiff's legal materials such as all Court orders, decisions,

opinions and Court transcripts along with all pleadings which would include

all direct apeals, briefs or post-conviction motions previously filed with
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the U.S. Federal Courts no matter what case that those "Published Public Record"
those papers refers to which every U.S. citizen has a Constitutional Right,
including Federal prisoners, that can be easily accessed through the prison

law library computer system, Lexus, Findlaw or through Pacer. Further, Plaintiff's
First Amendment Rights were violated for failure to provide him with the proper
administrative remedy forms to redress the valid grievances herewithin.

56) Defendants, Rothermel and Brown violated Plaintiff's Fifth Amendment
Right to Due Process by continuosly depriving Plaintiff's access to the Administrative
Remedy procedure of the prison by failing to provide him grievance forms upon
Plaintiff's request, thus depriving him access to the Courts under the Prisoner
Litigation Reform Act.

57) The Plaintiff has no plain adequate or complete remedy at law to
redress the wrongs described herein. Plaintiff has been and will continue
to be irreparably injured by the conduct of the defendants unless this Court

grants the declaratory and injunctive relief which Plaintiff seeks.

VII. PRAYER FOR RELIEF

Wherefore Plaintiff respectfully prays that this Court enter Judgment
granting Plaintiff :.

A) A declaration that the acts and omissions described herein violated
Plaintiff's rights under the Constitution and laws of the United States.

B) A preliminary and permanent injunction ordering all Defendants immediately
to cease and desist from restraining any and all inmates access to the bathroom
in the institution and obstructing inmates from assisting other inmates with
preparing post-conviction motions and other legal assistance. (See Preliminary
Injunction and/or Protective Order).

C) Order Defendants to pay compensatory and punitive damages in the

amount of 2.5 million U.S. dollars against each defendant jointly and severally.

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D) Order Defenants to pay reasonable attorney fees and costs; and
E) Grant other just and equitable relief that this Honorable Court deems
necessary.

F) A Jury trial on all issues triable by Jury.

Respectfully Submitted,
Executed on July 1 ; 2017

Craig az 90-040
Pro-Se

Institution

PO BOX 1000

Allenwood Low Security Correctional
White Deer, PA 17887

VERIFICATION
Pursuant to 28 USC §1746, I declare and verify under penalty of perjury

under the laws of the United States of America that the foregoing is true

and correct. Executed on July QI 2017.

 

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Craig Alan Toaz
#07990-040

F.C.1I. Allenwood
P.O. Box 1000

White Deer, PA 17887

U.S. District Court Clerk
William J. Nealon Fed. Bldg
U.S. Courthouse

PO BOX 1148

Scranton, PA 18501

RE: Civil Rights Complaint/Forma Pauperis forms

Dear Court Clerk:
Please send me the correct form to proceed in forma pauperis and any

forms that I need to fill out so the U.S. Marshals can serve all named Defendants.
Thank you very much for your time and assistance in this matter, if you

have any questions concerning my Civil Rights complaint, please feel free

to contact me at your convenience.

Yours Truly,

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